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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 US DOMINION, INC., DOMINION                       )
 VOTING SYSTEMS, INC., and DOMINION                )
 VOTING SYSTEMS CORPORATION,                       )
                                                   )
        Plaintiffs,                                )
                                                   )
            v.                                     )   Case No. 1:21-cv-00040-CJN
                                                   )
 SIDNEY POWELL, SIDNEY POWELL,                     )
 P.C., and DEFENDING THE REPUBLIC,                 )
 INC.,                                             )
                                                   )
        Defendants.                                )
                                                   )

            DOMINION’S RESPONSE TO POWELL’S MOTION FOR
      EXTENSION OF TIME TO ANSWER OR RESPOND TO THE COMPLAINT

       As a professional courtesy to opposing counsel, Dominion does not oppose the motion for

extension of time filed by counsel for Sidney Powell and Sidney Powell P.C. But the record should

reflect that: (1) Powell refused to respond to requests from Plaintiffs’ counsel about executing

waivers of service of process (which would have extended the time to respond to the complaint);

and (2) Powell evaded service of process for weeks, forcing Dominion to incur unnecessary

expenses for extraordinary measures to effect service, including hiring private investigators and

pursuing Powell across state lines.

                                            Respectfully Submitted,

Date: February 9, 2021
                                             /s/ Thomas A. Clare, P.C.
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                           Attorneys for Plaintiffs




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                                 CERTIFICATE OF SERVICE

               I hereby certify that a true and correct copy of the foregoing document will be filed

with the Clerk of Court using the CM/ECF system on February 9, 2021, which will send

notification of such filing to the following:

       Lawrence J. Joseph
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                                                /s/ Thomas A. Clare, P.C.
                                                Thomas A. Clare, P.C.




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